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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
MICHAEL CHIARACANE and LUIS                                           :
MALDONADO,
                                                                      :
                              Plaintiff,                              :
                                                                      :           ORDER
                    -against-                                         :
                                                                      :     18-CV-2995 (KNF)
PORT AUTHORITY TRANS-HUDSON                                           :
CORPORATION, ROBERT KUHFAHL, and                                      :
VINCENT LOMBARDI,                                                     :
                                                                      :
                              Defendants.                             :
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KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         The United States District Court, Southern District of New York, determined, based upon the

recommendation of its COVID-19 health and safety consultant, to suspend all jury trials scheduled to

commence during the two weeks immediately following the 2020 Thanksgiving holiday weekend.

The action was taken because data show outbreaks of COVID-19 follow holidays on which large

numbers of people travel and gather with family and friends. Therefore, the jury trial of the instant

action, which is scheduled to commence on December 9, 2020, is adjourned sine die. The parties

will be advised as soon as a date on which the trial can commence is known.

Dated: New York, New York                                           SO ORDERED:
       November 6, 2020
